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            UNITED STATES COURT OF INTERNATIONAL TRADE
           BEFORE THE HONORABLE GARY S. KATZMANN, JUDGE


                                              )
CLEVELAND-CLIFFS INC.                         )
                                              )
               Plaintiff,                     )
                                              )
               v.                             )       Court No. 22-00257
                                              )
UNITED STATES,                                )
                                              )
               Defendant.                     )
                                              )

               PLAINTIFF’S AND PLAINTIFF-INTERVENORS’
             MOTION FOR JUDGMENT ON THE AGENCY RECORD

       Pursuant to Rule 56.2 of the Rules of this Court, Plaintiff Cleveland-Cliffs Inc.

and Plaintiff-Intervenors Nucor Corporation, Steel Dynamics, Inc., and United States

Steel Corporation hereby move for judgment on the agency record in this appeal, which

challenges the final negative determinations of the United States International Trade

Commission (“Commission”) in the five-year reviews of cold-rolled steel flat products

from Brazil. See Cold-Rolled Steel Flat Products from Brazil, China, India, Japan, South

Korea, and the United Kingdom, Inv. Nos. 701-TA-540-543 and 731-TA-1283-1287 and

1290 (Review), USITC Pub. 5339 (August 2022) (“Views”). The Commission’s negative

determinations for Brazil were published in the Federal Register at 87 Fed. Reg. 49,886

(August 12, 2022).

       As discussed in detail in the attached memorandum of law in support of this

motion, Plaintiff and Plaintiff-Intervenors respectfully request that the Court find that the

Commission majority’s negative determinations for Brazil are unsupported by substantial

evidence on the record and otherwise not in accordance with law. Plaintiff and Plaintiff-
    Case 1:22-cv-00257-GSK Document 44              Filed 03/16/23      Page 2 of 54




Intervenors further request that the Court remand the Commission’s final negative

determinations for Brazil to the Commission for disposition consistent with the Court’s

opinion.

                                            Respectfully submitted,


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March 15, 2023
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             UNITED STATES COURT OF INTERNATIONAL TRADE
            BEFORE THE HONORABLE GARY S. KATZMANN, JUDGE


                                               )
CLEVELAND-CLIFFS INC.                          )
                                               )
                 Plaintiff,                    )
                                               )
                 v.                            )      Court No. 22-00257
                                               )
UNITED STATES,                                 )
                                               )
                 Defendant.                    )
                                               )

                                          ORDER

          Upon consideration of the Rule 56.2 Motion For Judgment Upon The Agency

Record of Plaintiff Cleveland-Cliffs Inc. and Plaintiff-Intervenors Nucor Corporation,

Steel Dynamics, Inc., and United States Steel Corporation, and upon consideration of all

other papers and filings in this proceeding, it is hereby

          ORDERED that the motion is granted; and it is further

          ORDERED that this case is remanded to the U.S. International Trade

Commission (“Commission”) with instructions to reconsider its final determinations for

Brazil and issue a revised decision that is consistent with the Court’s opinion; and it is

further

          ORDERED that the Commission issue its revised determinations for Brazil within

60 days of the date of this order.


                                               ______________________________
                                               Judge Gary S. Katzmann
                                               U.S. Court of International Trade
Dated:
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                                                                NON-CONFIDENTIAL



               UNITED STATES COURT OF INTERNATIONAL TRADE
              BEFORE THE HONORABLE GARY S. KATZMANN, JUDGE


                                   )
CLEVELAND-CLIFFS INC.              )
                                   )
              Plaintiff,           )
                                   )
       v.                          )     Court No. 22-00257
                                   )
UNITED STATES,                     )
                                   )
       Defendant.                  )
                                   )



            PLAINTIFF AND PLAINTIFF-INTERVENORS’ MEMORANDUM
              OF LAW IN SUPPORT OF THEIR RULE 56.2 MOTION FOR
                    JUDGMENT UPON THE AGENCY RECORD



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       On behalf of Plaintiff Cleveland-Cliffs, Inc. (“Cleveland-Cliffs”), and Plaintiff-

Intervenors Nucor Corporation, Steel Dynamics, Inc., and United States Steel Corporation (the

“Domestic Industry”), domestic producers of cold-rolled steel, we hereby submit the Domestic

Industry’s Memorandum of Law in support of its Motion for Judgment on the Agency Record, in

accordance with Rule 56.2(c) of the Rules of the United States Court of International Trade (the

“Court”).

       As discussed below, the negative determinations of the U.S. International Trade

Commission (the “Commission”) for cold-rolled steel flat products (“cold-rolled steel”) from

Brazil were not supported by substantial evidence and otherwise not in accordance with law. 1

First, the Commission majority’s determination not to cumulate the subject imports of cold-

rolled steel from Brazil with imports of cold-rolled steel from the other subject countries was

inconsistent with this Court’s prior decisions concerning the legal limitations that govern the

Commission’s discretion not to cumulate subject imports from an individual country in a five-

year review. Indeed, in its determination, the Commission majority entirely failed to explain

why it chose not to comply with these legal limitations.

       Moreover, in its analysis, the Commission majority ignored critical facts on the record

relating to its cumulation decision for Brazil, thereby rendering the Commission’s determinations

for Brazil unsupported by substantial evidence. Finally, although the Commission’s decision not

to cumulate Brazil with the other subject imports was inconsistent with its prior decisions

involving the imposition of trade measures on the subject imports under Section 232 of the Trade

Expansion Act of 1962 (“Section 232”), the Commission failed to explain why it departed from

       1
         The Commission’s decision on this issue was a divided one, with three members of the
Commission choosing not to cumulate the Brazilian imports with the other subject imports and
issuing a negative determination for Brazil and two members of the Commission cumulating the
Brazilian imports and issuing an affirmative determination for Brazil.



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the practice set forth in these decisions.

        Given these issues, we respectfully request that the Court find that the Commission’s

negative determinations for Brazil were unsupported by substantial evidence and otherwise not

in accordance with law. We also respectfully request that the Court remand the Commission’s

negative determinations for Brazil to the Commission with instructions to address the issues

raised in this brief and issue revised determinations for Brazil in accordance with the Court’s

instructions.

        These issues are discussed in detail below.


I.      STATEMENT PURSUANT TO RULE 56.2

        A. Administrative Determination Sought to Be Reviewed

        Plaintiff and Plaintiff-Intervenors seek review of the Commission’s negative final

determinations for imports of cold-rolled steel from Brazil, which were issued in connection with

the Commission’s five-year reviews of the antidumping and countervailing duty orders on cold-

rolled steel imports from Brazil and five other subject countries. See Cold-Rolled Steel Flat

Products from Brazil, China, India, Japan, South Korea, and the United Kingdom, Inv. Nos,

701-TA-540-543 and 731-TA-1283-1287 and 1290 (Review), USITC Pub. 5339 (August 2022)

(“Views”), PRD 300. 2 The Commission’s negative determinations for Brazil were published in

the Federal Register on August 12, 2022. Cold-Rolled Steel Flat Products from Brazil, China,

India, Japan, South Korea, and the United Kingdom, Inv. Nos, 701-TA-540-543 and 731-TA-

1283-1287 and 1290 (Review), 87 Fed. Reg. 49,886 (August 12, 2022).




        2
        Throughout this brief, we cite to documents in the Commission’s public record as “PRD
___” and the documents in the Commission’s confidential record as “CRD ___.”



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       B. Issues Presented and Summary Of Argument

       This appeal presents the Court with the following issues:

   1) Whether the Commission majority’s decision not to cumulate the subject imports of cold-
      rolled steel from Brazil with imports of cold-rolled steel from the other subject countries
      was in accordance with law and supported by substantial evidence when the Commission
      relied on an impermissibly “circular analysis” in finding that the subject imports from
      Brazil were likely to compete under different conditions of competition than imports of
      cold-rolled steel from the other subject countries.

       The Commission majority committed legal error when it concluded that the subject

imports of cold-rolled steel from Brazil and imports from the other five subject countries would

compete under different conditions of competition upon revocation of the orders and, on that

basis, chose not to cumulate the Brazilian imports. Views at 42-45, PRD 300. In making this

finding, the Commission majority relied heavily on the fact that, under Section 232, the Brazilian

imports of cold-rolled steel were subject to an annual import quota of 57,251 short tons, which

meant that the “subject imports other countries {were} in a position to compete for much larger

volumes of sales than any of the subject producers in Brazil…” Views at 42-44, PRD 300.

According to the Commission majority, this quota represented a significant difference in the

likely conditions of competition for the subject imports from Brazil, even though all of the

subject imports were subject to measures under Section 232 and even though imports of cold-

rolled steel from Korea were subject to a similar import quota under Section 232. Id.

       The Commission majority committed legal error by focusing exclusively, or almost

exclusively, on a comparison of the likely volumes of the Brazilian imports and the other subject

imports in its “conditions of competition” analysis. The Court of International Trade has made

clear that the Commission should not engage in “an impermissible circular {likely injury}

analysis” by basing its “conditions of competition” analysis solely on the likely volumes of the

subject imports. Neenah Foundry Co. v. United States, 25 C.I.T. 702, 155 F. Supp. 2d 766, 771-



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77 (Ct. Int’l Trade 2001); see also Allegheny Ludlum Corp. v. United States, 30 C.I.T 1995, 475

F. Supp. 2d 1370, 1378-79 (Ct. Int’l Trade 2006); Nucor Corporation v. United States, 33 C.I.T.

157, 605 F. Supp. 2d 1361, 1370, n. 12 (Ct. Int’l Trade 2009). As the Court’s decisions on this

issue make clear, the Commission majority’s assessment of the likely volumes of subject imports

properly belongs in its likely volume and likely injury analysis and cannot be the justification for

not cumulating the subject imports from any particular country. Id. Unfortunately, the

Commission majority performed this very type of impermissible “circular” analysis for Brazil

and failed to provide a legally sufficient explanation for doing so.

       Given the clear statements of the Court on this issue, the Commission majority’s finding

that the subject imports from Brazil and the other subject imports were likely to compete under

different conditions of competition if the orders were revoked is not in accordance with law and

should be remanded to the Commission.

   2) Whether the Commission majority’s decision not to cumulate the subject imports of cold-
      rolled steel from Brazil with imports of cold-rolled steel from the other subject countries
      was in accordance with law and supported by substantial evidence given that the
      Commission majority failed to directly address compelling evidence submitted by the
      domestic parties showing that the Commission could not, and should not, assume that the
      Section 232 quota on imports from Brazil would remain in place in their existing form for
      the reasonably foreseeable future.

       The Commission majority also failed to adequately address the Domestic Industry’s

argument that there was strong evidence that the Biden Administration would not keep the Brazil

quota in place for the reasonably foreseeable future. During the reviews, the Domestic Industry

provided strong evidence to the Commission showing that the government of Brazil was

pressuring the Biden Administration to change Brazil’s Section 232 quota to allow more

Brazilian imports into the United States. The Domestic Industry also submitted strong evidence

showing that the Biden Administration had significantly revised the Section 232 tariffs for other

trading partners, including the European Union, the United Kingdom, and Japan. This evidence


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demonstrated that the Commission could not reasonably conclude that the Brazil quota would

remain in place, in its existing form, for the reasonably foreseeable future.

        The Commission majority ignored this evidence. Rather than directly addressing this

evidence, the Commission majority simply asserted that there was “nothing in the record” to

suggest that the Section 232 quota on Brazilian imports would be terminated or revised in the

reasonably foreseeable future, noting only that the Biden Administration had not announced that

it intended to consider revising the quota. Views at 56 & 72, PRD 300. By essentially ignoring

the compelling evidence submitted by the domestic parties on this issue, the Commission

majority failed to take into account critical facts on the record, thereby rendering its analysis of

the issue unsupported by substantial evidence. See, e.g., Nippon Steel Corp. v. United States, 27

C.I.T. 1856, 301 F. Supp. 2d 1355, 1364 (Ct. Int’l Trade 2003).

        Moreover, by failing to directly address the evidence offered by the domestic producers,

the Commission majority failed to address a significant argument raised by the parties, violating

one of its fundamental obligations under the statute. 19 U.S.C. §1677f(i)(3)(B) (“the

Commission shall include in a final determination of injury an explanation of the basis for its

determination that addresses relevant arguments that are made by interested parties who are

parties to the investigation or review (as the case may be). . . .”); see also Altx, Inc. v. United

States, 25 C.I.T. 1100, 167 F. Supp. 2d 1353, 1374 (Ct. Int’l Trade 2001). Given these failures,

the Commission majority’s analysis of this issue should be remanded.

    3) Whether the Commission majority’s decision not to cumulate the subject imports of cold-
       rolled steel from Brazil with imports of cold-rolled steel from the other subject countries
       was in accordance with law and supported by substantial evidence given that it was
       inconsistent with the Commission’s prior decisions relating to the Section 232 trade
       measures.

        The Commission majority’s decision not to cumulate the Brazilian imports was also

inconsistent with its prior decisions relating to the likely impact of the Section 232 measures on


                                                 -5-
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subject imports, including its decisions in Tin- and Chromium-Coated Steel Sheet from Japan, 3

Certain Corrosion-Resistant Steel Products from China, India, Italy, South Korea and Taiwan, 4

and Non-Oriented Electrical Steel from China, Germany, Japan, Korea, Sweden, and Taiwan. 5

In these and similar decisions, the Commission had consistently found that the imposition of

trade measures under Section 232 on subject imports, including the imposition of Section 232

quotas, did not warrant a decision not to cumulate the subject imports from an individual

country.

       The Commission majority failed, however, to explain why it took a different approach for

Brazil in the cold-rolled five-year reviews. Given this failure, the Court should remand the

Commission majority’s determination for explanation of this departure from its prior practice.

See, e.g., DAK Americas LLC v. United States, 456 F. Supp. 3d 1340, 1354 (Ct. Int’l Trade 2020)

(quoting Usinor v. United States, 26 C.I.T. 767, 792 (Ct. Int’l Trade 2002) (“{I}f there are

distinguishing factors between the prior determinations in question and the instant case, the

burden is on the Commission to reasonably address them.”)

       Each of these issues renders the Commission’s negative determination for Brazil

unsupported by substantial evidence and not in accordance with law. Accordingly, this case

should be remanded to the Commission.



       3
        Tin- and Chromium-Coated Steel Sheet from Japan, Inv. Nos. 731-TA-860 (Third
Review), USITC Pub. 4795 (June 2018) at 21.
       4
         Certain Corrosion-Resistant Steel Products from China, India, Italy, South Korea and
Taiwan, Inv. Nos. 701-TA-534-537 & 731-TA-1274-1278 (Review), USITC Pub. 5337 (Aug.
2022) at 51 (“CORE Views”).
       5
        Non-Oriented Electrical Steel from China, Germany, Japan, Korea, Sweden, and
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II.      PROCEDURAL HISTORY AND STATEMENT OF FACTS

         A. The Original Investigation and The Orders

         On July 28, 2015, AK Steel Corporation, ArcelorMittal USA LLC, 6 Nucor Corporation,

Steel Dynamics Inc., and United States Steel Corporation filed antidumping and countervailing

duty petitions on cold-rolled steel imports from Brazil, China, India, Japan, South Korea, the

Netherlands, Russia, and the United Kingdom. Certain Cold-Rolled Steel Flat Products from

Japan and the People’s Republic of China, Inv. Nos. 701-TA-541 & 731-TA-1284 & 1286

(Final), USITC 4619 (July 2016) (“Japan and China Views”) at 3. 7

         In July and September 2016, the Commission determined that the domestic cold-rolled

steel industry was materially injured or threatened with material injury by reason of the subject

imports of cold-rolled steel from Brazil, China, India, Japan, Korea, and the United Kingdom.

Japan and China Views at 3; Certain Cold-Rolled Steel Flat Products from Brazil, India, Korea,

Russia, and the United Kingdom, Inv. Nos. 701-TA-540, 542-544 & 731-TA-1283, 1285, 1287

& 1289-90 (Final) USITC 4637, (September 2016) (“Brazil Views”) at 3. Importantly, the

Commission cumulated the subject imports of cold-rolled steel from Brazil with the subject

imports from China, India, Japan, Korea, and the United Kingdom, finding that the evidence

showed that there was a reasonable overlap of competition between the domestic like product

and the subject imports from all six countries. Brazil Views at 15-16; Japan and China Views at

12-19.



         6
        AK Steel Corporation and ArcelorMittal USA were acquired by Cleveland-Cliffs in
2020. Accordingly, Cleveland-Cliffs is the successor-in-interest to these two producers.
         7
          During the investigations, the Commission found that the subject imports of cold-rolled
steel from the Netherlands and Russia were negligible and therefore terminated the investigations
for the subject imports from these two countries. Brazil Views at 4-14.


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        Accordingly, in July and September 2016, the Department of Commerce published

antidumping and/or countervailing duty orders on the subject imports from Brazil and the other

five subject countries. 8

        B. The Five-Year Reviews of Cold-Rolled Steel Orders

        On June 1, 2021, the Commission instituted its first five-year reviews of the antidumping

and countervailing duty orders on cold-rolled steel from Brazil, China, India, Japan, South

Korea, and the United Kingdom. Views at 4, PRD 300. During the reviews, the Domestic

Industry demonstrated, and the Commission agreed, that the record evidence showed that subject

imports of cold-rolled steel from Brazil would likely have a discernible adverse impact on the

domestic industry and that they would be likely to compete with each other and the domestic like

product upon revocation. Views at 17-18, PRD 300.

        In particular, the Commission unanimously found that the subject imports from Brazil

would have a discernible adverse impact on the domestic industry upon revocation of the

Brazilian order, and that subject imports from Brazil would likely compete with the domestic

like product and the other subject imports after revocation. Views at 20-23 & 36-41, PRD 300.

In its discernible adverse impact analysis for Brazil, the Commission found that:

    •   Brazil had excess capacity in 2021 and could export enough cold-rolled steel in 2021 to
        fill its quota under Section 232.

    •   The volume of the subject imports of cold-rolled steel from Brazil increased from 32,953
        short tons to 240,796 short tons during the original period of investigation and their
        market share increased from 0.1 to 0.8 percent of apparent consumption.




        8
        Commerce published antidumping orders on all six subject countries and countervailing
duty orders on Brazil, China, India, and South Korea. 81 Fed. Reg. 45956 (July 14, 2016); 81
Fed. Reg. 45960 (July 14, 2016); 81 Fed. Reg. 64432 (September 20, 2016); and 81 Fed. Reg.
64436 (September 20, 2016).



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   •   Although the Brazilian imports were subject to a quota of 57,251 short tons under Section
       232, they did not come close to filling the quota in 2021 and Brazilian producers had the
       ability to increase their exports to the United States.

   •   Brazil was the fifteenth largest exporter of cold-rolled steel in the world in 2021.

   •   The Brazilian imports undersold the domestic industry in most instances during the
       period of investigation. Views at 20-23, PRD 300.

Given these facts, all of the Commissioners found that, if the order on Brazil were revoked, the

imports from Brazil would have a discernible adverse impact on the domestic industry. Views at

23, PRD 300.

       The Commission also found that there was likely to be a reasonable overlap of

competition between the imports from Brazil, the other subject imports and the domestic like

product. Views at 36-41, PRD 300. In this regard, the Commission found that:

       •   Most domestic producers, importers and purchasers reported that the domestic like
           product and the subject imports, including those from Brazil, were “always” or
           “frequently” interchangeable.

       •   The domestic like product and the subject imports, including those from Brazil,
           would likely be sold in similar channels of distribution.

       •   The domestic like product and the subject imports, including those from Brazil, were
           sold in overlapping geographic markets in the United States.

       •   The domestic like product and the subject imports, including those from Brazil,
           would likely be simultaneously present in the market if the orders were revoked.

Views at 36-41, PRD 300. Accordingly, the Commission found that imports from all of the

subject countries, including Brazil, would compete with one another and the domestic like

product in the market upon revocation. Views at 36-41, PRD 300.

       Finally, the Domestic Industry demonstrated that the record showed that imports from the

subject countries, including those from Brazil, would compete with each other and the domestic

like product under the same conditions of competition. Views at 17-18, PRD 300. Accordingly,



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they argued that subject imports from all six countries, including Brazil, should be cumulated

and that the Commission should find that the cumulated subject imports would cause material

injury to the domestic industry upon revocation of the orders. Views at 17-18 & 67, PRD 300.

       Despite finding that the Brazilian imports would have a discernible adverse impact on the

domestic industry and that they would compete with the domestic like product and the other

subject imports upon revocation, the Commission majority -- consisting of Chairman Johanson

and Commissioners Karpel and Kearns -- chose not to cumulate subject imports from Brazil with

the other subject imports, relying on the finding that the Brazilian imports and the other subject

imports would allegedly compete under different conditions of competition upon revocation of

the orders. Views at 20-23, 36-41, & 42-45, PRD 300. In reaching this decision, these

Commissioners relied on the fact that the quota imposed on the cold-rolled steel imports from

Brazil under Section 232 was “only” 57,251 short tons. Views at 43, PRD 300. According to the

Commission majority, this meant that imports of cold-rolled steel from the other subject

countries were “in a position to compete for much larger volumes of sales than any of the subject

producers in Brazil which must share the quota limits.” Views at 44, PRD 300.

       As a result, they found that the Brazilian imports would compete under different

conditions of competition than other subject imports, even though imports from Korea were also

subject to a quota under Section 232 and the other subject imports were subject to other trade

measures under Section 232, including tariffs and tariff rate quotas (“TRQ’s”). In its discussion,

the Commission majority distinguished the Korean quota from the Brazilian quota by pointing

out that the annual quota limit for Korea (which was 141,018 short tons) was larger than the

annual quota limit for Brazil (57,218 short tons). Views at 43, PRD 300.




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       In its likely injury analysis for Brazil, 9 the Commission majority further emphasized that

that “nothing in the record of these reviews indicates that the section 232 trade action, an

absolute quota, as it relates to imports of CRS {i.e., cold-rolled steel} from Brazil will be

terminated in the reasonably foreseeable future.” Views at 72 (emphasis added), PRD 300. They

stated that “{t}he quota ha{d} been in place” since March 2018 and that “there has been no

announcement by the Administration that it is considering revising or removing the quota on

Brazil in the reasonably foreseeable future.” Id. As a result, they concluded that “the Section

232 trade action, as currently structured and enforced, likely will continue through the

reasonably foreseeable future.” Id.

       After deciding not to cumulate the subject imports from Brazil with the imports from the

other subject countries, the Commission majority chose to cumulate imports from all five of the

other subject countries. Views at 45, PRD 300. It also found that the cumulated subject imports

would likely cause the continuation or recurrence of material injury to the domestic industry if

the orders were revoked. Views at 46-68, PRD 300. With respect to the imports from Brazil,

however, they determined that Brazilian imports would not likely cause material injury to the

domestic industry upon revocation, once again relying heavily on the fact that Brazilian imports

were subject to a quota under Section 232. Views at 71-72, PRD 300.

       Commissioners Schmidtlein and Stayin dissented from the Commission majority’s

findings for Brazil, firmly rejecting the majority’s finding that the Brazilian imports would

compete under different conditions of competition than the other subject imports. Views at 75-

79, PRD 300. In their dissenting views, Commissioners Schmidtlein and Stayin made clear that

       9
         Importantly, the Commission majority made these statements in its negative likely
injury analysis for Brazil but did not address this issue in the context of its analysis of conditions
of competition for Brazil and the other subject countries in its cumulation discussion. Views at
42-45 & 72, PRD 300.



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the difference in the measures imposed on cold-rolled imports from the subject countries under

Section 232 did not constitute a different likely condition of competition for imports from Brazil.

Views at 78, PRD 300.

       In contrast to the Commission majority, Commissioners Schmidtlein and Stayin provided

a robust and detailed analysis of conditions of competition in the market, demonstrating that the

record simply did not support a finding that there were significant differences in competition

between the Brazilian imports and the other subject imports. Views at 75-79, PRD 300. In

particular, Commissioners Schmidtlein and Stayin pointed out that:

       •   The industries in the subject countries, including Brazil, had substantial excess
           capacity throughout the period of review, and imports from every subject country
           maintained a presence in the U.S. market in every year of the period of review.

       •   The United States was an attractive market for the producers in each subject country.

       •   There was likely to be a reasonable overlap of competition between and among
           subject imports and the domestic like product upon revocation.

       •   In the original investigations, purchasers shifted purchases from the domestic like
           product to imports from each subject country due to the lower price of the imports.
           Moreover, imports from each subject country increased during the POI and declined
           after the orders were imposed.

Views at 75 (footnotes omitted), PRD 300.

       Commissioners Schmidtlein and Stayin also firmly rejected the Brazilian respondents’

claims that the Brazilian imports would compete under different conditions of competition than

the other subject imports after revocation, explaining that:

       •   The Brazilian industry had demonstrated a strong interest in exporting to the U.S.
           market during the original period of investigation and had increased its U.S. volume
           and market share levels rapidly during that period.

       •   The Brazilian imports significantly undersold the domestic like products during the
           period of investigation.




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       •   The Brazilian orders had a significant restraining effect on the volumes of subject
           imports from Brazil, which were lower than they were during the original period of
           investigation.

       •   Like the other subject industries, the Brazilian industry had substantial excess
           capacity during the period of review, which could be used to increase exports to the
           United States upon revocation of the orders.

       •   The Brazilian industry’s export levels during the period of review were similar to the
           levels it exported to global markets during the original period of investigation, when
           it increased its exports to the United States significantly.

       •   As a result, the Brazilian industry’s alleged focus on its home market would not
           prevent it from increasing its exports to the United States in the reasonably
           foreseeable future, along with imports from the other subject countries.

Views at 75-76 (footnotes omitted), PRD 300.

       In addition, Commissioners Schmidtlein and Stayin directly rebutted the Commission

majority’s finding that the Brazilian imports and the Korean imports would compete under

different conditions of competition. Views at 78-79, PRD 300. Specifically noting that they

disagreed with the Commission majority’s analysis, they pointed out that:

       •   Like the imports from other subject countries, the imports from Brazil and South
           Korea were both likely to increase to their quota limits if the orders were revoked.

       •   Imports from Brazil and Korea had both been below their section 232 quota levels
           throughout the period of review, and, in fact, South Korea filled more of its quota
           than Brazil in 2021. Although South Korea has a larger quota volume than Brazil,
           upon revocation of the orders, the subject imports from Brazil would likely increase
           by a larger amount than the Korean imports.

       •   Like the other subject countries, the subject imports from Brazil and South Korea
           undersold the domestic like product in most cases during the period of investigation.

       •   The Brazilian producers had the same incentive to price aggressively when competing
           for 0.2 percent of the U.S. market as the Korean producers, who were competing for
           0.5 percent of the U.S. market under their quota limit.

Views at 78-79, PRD 300. As a result, Commissioners Schmidtlein and Stayin reasonably

explained that “{w}hile one may argue that the difference in quota levels between Brazil and



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South Korea may ultimately have a different impact on the domestic industry (and that is

debatable), the difference in quota levels does not lead to the subject imports from Brazil

competing differently in the U.S. market than subject imports from South Korea or any other

subject country.” Views at 79, PRD 300.

       Finally, and perhaps most importantly, Commissioners Schmidtlein and Stayin

fundamentally rejected the Commission majority’s claim that the differences between the quota

imposed on Brazil under Section 232 and the measures imposed on other subject imports under

Section 232 constituted a significant difference in conditions of competition. Views 77-78, PRD

300. As they explained:

       The fact that certain imports may be subject to quotas while others may be
       subject to tariffs or tariff-rate quotas does not affect the conditions of
       competition facing these imports in the U.S. market, nor does it suggest
       that the imports would not compete with each other and with the domestic
       product if the orders were to be revoked. The different measures do not
       affect the types of products that may be sold in the U.S. market, nor do
       they affect the locations or channels of distribution through which the
       imports may be sold. Simply put, any differences in these Section 232
       measures will not result in the imports from different subject countries
       competing differently in the marketplace.

Views at 77-78 (emphasis added and footnotes omitted), PRD 300.

       Having fully and robustly rebutted the Commission majority’s finding that the Brazilian

imports and the other subject imports would compete under different conditions of competition

after revocation, Commissioners Schmidtlein and Stayin correctly cumulated the imports from

Brazil with the other subject imports. Moreover, they appropriately concluded that the

cumulated imports from all of the subject countries were likely to cause material injury to the

domestic industry.




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III.   STANDARD OF REVIEW

       Under the statute, this Court is required “to hold unlawful any determination, finding, or

conclusion {of the Commission} found to be “unsupported by substantial evidence on the record

or otherwise not in accordance with law.” 19 U.S.C. § 1516a(b)(1)(B)(i). If the Court

“determine{s} that the Commission’s determination is unsupported by substantial evidence or

otherwise incorrect, the case will be remanded to the Commission with specific instructions,

pursuant to 19 U.S.C. § 1516a(b)(1)(B)(i).” Altx, Inc. v. United States, 370 F.3d 1108, 1111

(Fed. Cir. 2004).

       As the statute indicates, the Court must remand a Commission determination that is not

“in accordance with law.” This Court will find a Commission determination not to be “in

accordance with law” if it conflicts with existing law, including judicial decisions. E.g., Jilin

Henghe Pharmaceutical Co. v. United States, 28 CIT 969, 342 F. Supp. 1301, 1309 (Ct. Int’l

Trade 2004), vacated and remanded, 123 Fed. Appx. 402 (Fed. Circuit 2005) (vacated because

appeal was mooted after decision by this Court). Moreover, the Court will hold a Commission

determination to be unlawful if the Commission has failed to carry out its duties properly, relied

on inadequate facts or reasoning, or neglected to provide an adequate basis for its conclusions.

See Rhone-Poulenc, Inc. v. United States, 20 C.I.T. 573, 927 F. Supp. 451, 454 (Ct. Int’l Trade

1996); see also Anshan Iron & Steel Co., Ltd. v. United States, 28 C.I.T. 1728, 358 F. Supp. 2d

1236, 1243 (Ct. Int’l Trade 2004).

       The Commission will also be found to have acted unlawfully if it treats similar cases

differently without an adequate explanation. Indeed, as this Court stated in a recent decision,

“the Commission may not disregard previous findings of a general nature that bear directly upon

the current review.” DAK Americas LLC, 456 F. Supp. 3d at 1354 (quoting Usinor 26 C.I.T. at




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792. Instead, “if there are distinguishing factors between the prior determinations in question

and the instant case, the burden is on the Commission to reasonably address them.” Id.

       Under the statute, the Commission’s determination must also be supported by substantial

evidence. 19 U.S.C. § 1516a(b)(1)(B)(i). “Substantial evidence” means “such relevant evidence

as a reasonable mind might accept as adequate to support a conclusion.” Suramerica de

Aleaciones Laminadas, C.A v. United States, 44 F.3d 978, 985 (Fed. Cir. 1994) (quoting Consol.

Edison Co. v. NLRB, 305 U.S. 197, 229 (1938)). Under the substantial evidence standard, the

Commission’s findings must be supported by “more than a mere scintilla” of evidence. Id.

       Importantly, it is not sufficient for the Court “to merely examine the evidence that

sustains the agency’s conclusion,” Timken Co. v. United States, 12 C.I.T 955, 699 F. Supp. 300,

306 (Ct. Int’l Trade 1988), aff’d 894 F. 2d 385 (Fed. Cir. 1990), or to find “that the evidence

supporting {the agency’s} decision is ‘substantial’ when considered by itself.” Suramerica de

Aleaciones Laminadas, C.A. v. United States, 17 C.I.T. 146, 818 F. Supp. 348, 353 (Ct. Int’l

Trade 1993), aff’d, 44 F.3d 978 (Fed. Cir. 1994) (citation omitted). Instead, “{t}o determine the

substantiality of the evidence, the Court must also take into account ‘whatever in the record

fairly detracts from its weight.’” Nippon Steel, 301 F. Supp. 2d at 1364. “The ‘whole record’

means that the Court must consider both sides of the record. It is not sufficient merely to

examine the evidence that sustains the agency’s conclusion.” Timken, 699 F. Supp. at 306.

       Finally, in addition to ensuring that the Commission’s determination is in accordance

with law and that its decision is based on the record as a whole, the Court must also ensure that

the Commission has provided a reasoned explanation for its determination. The Commission’s

decision must include “an examination of the relevant data and a reasoned explanation supported

by a stated connection between the facts found and the choices made.” U.S. Steel Group v.




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United States, 25 C.I.T. 1046, 1047, 162 F. Supp. 2d 676, 678 (Ct. Int’l Trade 2001) (citing

Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)).

       Accordingly, when reviewing the Commission’s determination, the Court must scrutinize

any inferences drawn by the Commission from the evidence, because the Commission is “not

free to prescribe what inferences from the evidence it will accept and reject, but must draw all

those inferences that the evidence fairly demands.” Allentown Mack Sales & Service, v. NLRB,

522 U.S. 359, 378 (1998). Moreover, the Court must ensure that the Commission’s analysis

addresses “all relevant legal arguments that are made by interested parties” in an investigation or

review. 19 U.S.C. §1677f(i)(3)(B).

       As the Court explained in Altx, Inc. v. United States, 26 C.I.T. 1425, 1426 (Ct. Int’l Trade

2002), “it does not matter if the arguments of the parties are easily dispensed with or require

closer examination, if the Commission does not make its thinking clear. The Court can only

review the reasoning that the Commission expresses.” Id.; see also DAK Americas, 456 F. Supp.

3d at 1353-68 (remanding a number of Commission findings for lack of an adequate explanation

by the Commission).


IV.    ARGUMENT

       A. The Commission Majority’s Conditions-of-Competition Analysis For Brazil
          Was Not In Accordance with Law and Was Unsupported by Substantial
          Evidence

       In its analysis, the Commission majority committed a number of significant legal errors,

which are discussed in detail below. As a general matter, however, the Commission majority’s

analysis is fundamentally flawed because the Commission majority failed to provide a legally

sufficient explanation of the reasons why it found that the differences in the Section 232

measures for imports from Brazil and the measures imposed on imports from the other subject



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countries actually constituted a significant difference in the conditions of competition. For

example, the Commission majority failed to explain how its findings for Brazil were consistent

with this Court’s admonition that differences in import volumes alone are insufficient to justify a

decision not to cumulate imports from one of the subject countries. See, e.g., Neenah Foundry,

155 F. Supp. at 771-78.

       Similarly, the Commission majority failed to grapple with the persuasive analysis and

comprehensive findings of the two dissenting Commissioners, who persuasively showed that the

Section 232 measures would not cause the Brazilian imports and the other subject imports to

compete under different conditions of competition in the U.S. market upon revocation.

       Finally, the Commission majority failed to explain how its determination and analysis for

Brazil was consistent with the Commission’s prior decisions relating to Section 232 measures.

In those decisions, the Commission had consistently rejected the idea that Section 232 measures

would prevent the subject imports from having an impact on the industry so as to warrant

decumulation. See, e.g., DAK Americas LLC, 456 F. Supp. 3d at 1354. In sum, because the

Commission majority did not provide a reasoned explanation of these findings, its negative

determinations for Brazil were not supported by substantial evidence or in accordance with law

and should be remanded.

       Each of these issues is discussed below.

       B. The Commission Majority’s Determination Not to Cumulate the Subject
          Imports from Brazil Relied on an Impermissibly Circular Analysis

            1.   The Standards Governing the Commission’s Decision On Cumulation in
                 Sunset Reviews

                 a.   The Commission’s Likely Injury and Cumulation Analysis In Sunset Reviews

       In five-year reviews involving imports from multiple countries, the Commission must

assess whether revocation of the orders on the subject imports under review will result in the


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continuation or recurrence of material injury to the domestic industry. 19 U.S.C. §1675a(a).

When performing this analysis, the Commission “must engage in a counterfactual analysis,” that

is, “it must decide the likely impact {on the subject imports and the domestic industry} in the

reasonably foreseeable future of an important change in the status quo - the revocation {of an

order}and the elimination of its restraining effects on volumes and prices of imports.” Statement

of Administrative Action for the Uruguay Round Amendments Act, H.R. Rep. No. 316, 103rd

Cong., 2d Sess., Vol. I, at 884 (1994) (“SAA”). Accordingly, in a five-year review, the

Commission has an obligation to assess the impact of revocation on the likely volume and prices

of the subject imports and the condition of the domestic industry. 19 U.S.C. §1675a(a)(1).

       When performing its likely injury analysis, the statute provides that the Commission

“may cumulatively assess the volume and effect of imports of the subject merchandise from all

countries with respect to which reviews under section 1675(c) {the provisions of the statute

governing five-year reviews} were initiated on the same day, if such imports would be likely to

compete with each other and with the domestic like products in the United States market.” 19

U.S.C. §1675a(a)(7). Thus, unlike its cumulation determination for present injury in original

injury investigations, the Commission’s determination as to whether to cumulate the subject

imports from the countries in a five-year review is discretionary. Views at 16, CRD 300.

       In a five-year review, the Commission’s cumulation analysis consists of three separate

findings. 10 First, under the statute, the Commission may not cumulate the subject imports from

any individual country if they are “likely to have no discernible adverse impact” on the domestic




       10
         The threshold criterion for cumulation in the reviews below was met because the
reviews for the orders covering imports from Brazil, China, India, Japan, South Korea, and the
United Kingdom were all initiated on the same day. Views at 25, PRD 300.


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industry. 19 U.S.C. §1675a(a)(7). 11 Second, the Commission must assess whether the subject

imports from the subject countries “would be likely to compete with each other and with the

domestic like products in the United States market” upon revocation of the orders subject to

review. 19 U.S.C. §1675a(a)(7). 12

       In the third and final step of its cumulation analysis, the Commission must assess whether

it should exercise its discretion to cumulate the imports from each subject country that meet the

first two statutory criteria for cumulation. 19 U.S.C. §1675a(a)(7). When performing this final

step, the Commission assesses whether the subject imports from each of the countries subject to

review “would likely compete under similar or different conditions of competition” in the

market. Views at 41, CRD 300.

       In the five-year reviews of the cold-rolled steel orders, the Commission unanimously

found that (i) imports of cold-rolled steel from Brazil would have a discernible impact on the

domestic industry if the Brazil antidumping and countervailing duty orders were revoked and (ii)

the subject imports, including those from Brazil, would compete with one another and the

domestic like product if the orders were revoked. In other words, the Commission found that the



       11
           When assessing whether the subject imports from an individual country will have a
discernible adverse impact on the domestic industry upon revocation of an order, the
Commission typically examines the likely volume of the subject imports from each country and
their likely impact on the domestic industry if the orders are revoked. The Commission’s
analysis takes into account the nature of the product and the behavior of subject imports in the
original investigations. See, e.g., Views at 20 & 20-36 (addressing the discernible adverse impact
of the subject imports from Brazil, China, India, Japan, South Korea, and the United Kingdom),
PRD 300.
       12
           In its analysis of this statutory factor, the Commission typically examines whether the
subject imports are fungible or likely to be fungible, will likely be sold in the same channels of
distribution upon revocation, will be sold in the same geographic regions upon revocation, and
will be simultaneously present in the U.S. market upon revocation. See Views at 262, n. 36, PRD
300.



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subject imports from Brazil met the first two criteria for cumulation. These decisions are not at

issue in this appeal.

                 b.     The Standards Governing the Commission’s “Conditions of Competition”
                        Analysis When Assessing Whether to Cumulate Subject Imports in Five-Year
                        Reviews

        The Commission generally considers a number of facts when assessing whether there are

differing conditions of competition among the subject imports for purposes of its cumulation

analysis in sunset reviews. While the Commission has “wide latitude” in choosing the factors

that it will examine in its conditions of competition analysis, Allegheny Ludlum 475 F. Supp. 2d

at 1380, the Commission’s discretion to choose and analyze these factors is “not unfettered, and

the Commission’s exercise of discretion must be predicated upon a judgment anchored in the

language and spirit of the relevant statutes and regulations.” Allegheny Ludlum, 475 F. Supp.

2d at 1376; Nucor Corp. v. United States, 33 CIT 57, 605 F. Supp. 2d 1361, 1370 (2009)

(emphasis added).

        Importantly, as Congress has explained, the cumulation provisions of the statute are

designed to “stem ‘competition from unfairly traded imports from several countries

simultaneously {which} often has a ‘hammering effect’ on the domestic industry … that may not

be adequately addressed if the impact of the imports {is} analyzed separately on the basis of

their country of origin.’” H.R. Rep. No. 100-40, part 1, at 130 (1987). Moreover, Congress has

stated that cumulation is based on the “sound principle of preventing material injury which

comes about by virtue of several simultaneous unfair acts or practices.” H.R. Rep. No. 98-725,

p. 37 (1984). As a result, cumulation is intended to:

        Permit cumulation of imports from various countries that each account
        individually for a very small percentage of total market penetration, but
        when combined may cause material injury. The requirement in the bill as
        introduced that imports have a “contributing effect” in causing material
        injury would have precluded cumulation in cases where the impact of


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       imports from each source treated individually is minimal but the combined
       impact is injurious.

Id. (emphasis added).

       Because of the concerns expressed by Congress, this Court has made clear that, when the

Commission decides whether to exercise its discretion to cumulate the subject imports in a five-

year review, the Commission should not “engage{in {a} circular analysis, relying on the same

factors for {a} refusal to cumulate as for an ultimate negative injury determination.” Neenah

Foundry, 155 F. Supp. 2d at 772; see also Allegheny Ludlum, 475 F. Supp. 2d at 1378-79. As

the Court explained in Neenah Foundry, such an approach would thwart Congressional intent

because it would require a “demonstrated, independent causation of material injury {by imports

from an individual country} before any consideration of cumulation” by the subject imports.

Neenah Foundry, 155 F. Supp. 2d at 772.

       Accordingly, to avoid such “circular” reasoning in its cumulation analysis in five-year

reviews, the Court has stated that the Commission should not rely on the likely volumes or

pricing levels of the subject imports because these considerations properly belong in its analysis

of the likely injury presented by the subject imports. Id. Instead, the Court has emphasized that

the Commission should rely on differences in the volume and price trends of the subject imports

when it assesses whether there are significant differences in the conditions of competition

between the subject imports. E.g., Neenah Foundry, 155 F. Supp. 2d at 773-74. In fact, to the

extent that the absolute volumes and pricing levels of the subject imports are relevant to the

Commission’s cumulation analysis in a five-year review, Congress has provided the Commission

with a method for taking these factors into account by providing that the Commission must

assess whether subject imports from a specific country will have a “discernible adverse impact”




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on the domestic industry before it may cumulate the imports from this country with the other

subject imports. 19 U.S.C. §1675a(a)(7). 13

       In other words, by relying on an analysis of trends, the Commission can avoid the

impermissible approach of requiring that subject imports from an individual country themselves

cause material injury to the domestic industry before it actually performs the likely injury

analysis required for the cumulated subject imports in a sunset review. Neenah Foundry, 155 F.

Supp. 2d at 771-78. As the Court made clear in Neenah Foundry, imports from individual

countries that might not be responsible for material injury to the domestic industry upon

revocation can, when combined with other unfairly traded imports, have a materially injurious

impact on the domestic industry upon revocation. Id. at 771; see also H.R. Rep. No. 100-40, part

1, at 130; H.R. Rep. 98-725, at p. 37 (1984).

       Importantly, in Neenah Foundry, Allegheny Ludlum and Nucor, the Court stated that, to

avoid performing this type of improper “circular” injury analysis, the Commission should not

rely solely on the absolute likely volumes of the subject imports in its conditions of competition

analysis. Neenah Foundry, 155 F. Supp. 2d at 771-77; see also Allegheny Ludlum, 475 F. Supp.

2d at 1378-79; Nucor, 605 F. Supp. 2d at 1370, n. 12. For example, in Allegheny Ludlum, the

Court noted that, when the Commission chose not to cumulate the subject imports from the

United Kingdom with other subject imports, the Commission had properly relied “primarily on

permissible trend analyses” in its decision, including “product mix trends, production trends, and

volume trends…” The Court noted that the Commission’s reliance on these types of trends,



       13
          As noted previously, in its “discernible adverse impact” analysis, “the Commission
generally considers the likely volume of subject imports and the likely impact of those imports on
the domestic industry within a reasonably foreseeable time if the orders are revoked.” See, e.g.,
Views at 20 (emphasis added), PRD 300.



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rather than the absolute volume of the likely imports, was “adequate to sustain a finding not to

cumulate the subject imports.” Allegheny Ludlum, 475 F. Supp. 2d at 1379.

       Similarly, in Nucor, which involved a challenge by the domestic industry of the

Commission’s decision not to cumulate certain of the subject imports covered by a sunset

review, the Court rejected the domestic plaintiffs’ reliance on the likely volumes of the subject

imports in their arguments before the Court. The Court explained that “basing the cumulation

decision solely on the likely volume without further justification may constitute an impermissible

circular analysis that relies on the same factors for {a} refusal to cumulate as for an ultimate

negative injury determination.” Nucor, 605 F. Supp. 2d 1370, n. 12.

       Indeed, in Neenah Foundry, the Court explained that “cumulation of countries with

relatively small likely volume and price impact would not only be appropriate, a refusal to do so

without some additional justification could constitute an abuse of discretion.” Neenah Foundry

Co., 155 F. Supp. 2d at 774 (emphasis added). In sum, this Court has made very clear that, when

performing its conditions of competition analysis, the Commission should not rely on a

comparison of the likely volumes of the subject imports from the individual countries.

       Indeed, the Commission has taken heed of the Court’s admonitions. For instance, citing

Neenah Foundry, Nucor, and Allegheny Ludlum, the Commission has cumulated subject imports,

despite the existence of differences in the likely conditions of competition, because “reviewing

courts have rejected the notion that the Commission may engage in a ‘circular analysis, relying

on the same factors to refuse to cumulate as for an ultimate negative injury determination,’ such

as volume or market share alone.” Polyethylene Retail Carrier Bags from China, Malaysia, and

Thailand, Inv. Nos. 731-1043-1045, USITC Pub. 4160 (June 2010) (Review) at 18 n. 109.




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               2.   The Commission Majority’s Conditions of Competition Analysis for Brazil
                    Runs Afoul of This Court’s Prescription Against an Impermissible Circular
                    Analysis

       The Commission’s decision for Brazil violated these basic legal principles. When

assessing whether the imports from Brazil and imports from China, Japan, India, and the United

Kingdom would compete under different conditions of competition after revocation, the

Commission majority relied on a comparison of the likely volumes of the Brazilian imports and

imports from these four countries as the sole distinguishing factor between these imports. Views

at 42, PRD 300. By doing so, the Commission majority engaged in the very “circular analysis”

that the Court has declared to be impermissible under the statute. See Neenah Foundry Co., 155

F. Supp. 2d at 771-77; Allegheny Ludlum, 475 F. Supp. 2d at 1378-79; Nucor, 605 F. Supp. 2d at

1370, n. 12.

       The Commission majority’s conditions of competition analysis for Brazil and the subject

imports from China, India, Japan, and the United Kingdom was simple and direct. In its

analysis, the Commission majority relied solely on one fact: “the distinguishing circumstances of

the section 232 measures with respect to {cold-rolled steel} from Brazil.” Views at 42, PRD 300.

The Commission majority explained that, unlike imports of cold-rolled steel from China, India,

Japan and the United Kingdom, imports of cold-rolled steel from Brazil were subject to a quota

under Section 232, which set an “absolute cap on the annual volume of subject imports from

Brazil” of 57,251 short tons. Id. As the Commission also noted, this amount was equivalent to

0.2 percent of apparent U.S. consumption in 2021. Id. 14

       By way of comparison, the Commission majority noted that the subject imports from

China and India were not subject to quota limits under Section 232 but were, instead, subject to

       14
         The Commission also mentioned, without explanation, the volumes of the Brazilian
imports during the period of review. Views at 42, PRD 300.



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additional tariffs of 25 percent. Views at 42, PRD 300. Similarly, the Commission majority

noted that, although imports of cold-rolled steel from Japan and the United Kingdom were

subject to TRQ’s under Section 232, these TRQ’s did not impose an absolute cap on the volume

of these imports, as the quota for Brazil did. Id. Indeed, as the Commission majority noted, the

TRQ’s for Japan and the United Kingdom permit unlimited volumes of subject imports from

each of these countries to enter the United States, once they paid the 25 percent tariffs that were

applicable to any volumes in excess of the TRQ limits. Id.

       After reciting these differences in the measures affecting imports from these countries

under Section 232, the Commission majority found that, in light of the “absolute quota

applicable to subject imports from Brazil,” the “absence of any absolute quota on imports from

{subject imports from China, India, Japan, and the United Kingdom} means that, unlike the

subject imports from Brazil, subject imports from other countries are in a position to compete for

much larger volumes of sales than any of the subject producers in Brazil which must share the

quota limits.” Views at 43 (emphasis added), PRD 300.

       Importantly, the statements described above constitute the entirety of the Commission

majority’s reasoning to support its finding the subject imports from Brazil and the subject

imports from China, India, Japan, and the United Kingdom would compete under different

conditions of competition upon revocation of the orders. Views at 42-44, PRD 300. In other

words, the Commission majority’s conditions of competition analysis for Brazil and these four

countries focused exclusively on the likely volumes of the subject imports after revocation.

       Indeed, in its conclusion for these four countries, the Commission majority made clear

that it believed that the Brazilian imports should not be cumulated with the subject imports from

these four countries precisely because the Brazilian imports would enter the U.S. market in much




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smaller volumes than the imports from China, India, Japan, and the United Kingdom. Views at

43 (stating that the difference in the Section 232 measures for these countries “means that, unlike

the subject imports from Brazil, subject imports from other countries are in a position to compete

for much larger volumes of sales than any of the subject producers in Brazil which must share

the quota limits”), PRD 300.

       Moreover, at no point in its conditions of competition analysis for these countries did the

Commission majority compare the volume or pricing trends for imports from these countries, or

analyze any other, non-likely volume factor to justify its finding that the Brazilian imports and

imports from China, India, Japan, and the United Kingdom would compete under different

conditions of competition upon revocation. Instead, the Commission relied solely and

exclusively on an impermissible comparison of the likely volumes of the subject imports from

Brazil, China, India, Japan, and the United Kingdom in its conditions of competition analysis for

these countries. Neenah Foundry, 155 F. Supp. 2d at 771-77; Allegheny Ludlum, 475 F. Supp.

2d at 1378-79; Nucor, 605 F. Supp. 2d at 1370, n. 12.

       Clearly, the Commission majority’s analysis represents the very type of “circular” likely

volume analysis that is, in this Court’s view, “impermissible” under the statute. In other words,

it is clear the Commission majority relied on a legally flawed analysis of the conditions of

competition in the marketplace when deciding not to cumulate the Brazilian imports with the

subject imports from China, India, Japan, and the United Kingdom. Accordingly, its

determination of Brazil should be remanded.

            3.   The Commission Majority’s Conditions of Competition Analysis for Korea
                 and Brazil Rests On An Impermissible “Circular” Analysis

       In its analysis of the differences in conditions of competition between the subject imports

from Brazil and the subject imports from Korea, the Commission majority performed a slightly



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more detailed conditions of competition analysis than it did for the imports from China, India,

Japan, and the United Kingdom. Views at 43, PRD 300. However, the Commission majority’s

analysis for the imports from Brazil and Korea suffers from the same fatal legal flaw as its

analysis for the other subject countries: it relies almost exclusively on a comparison of the likely

volumes of the imports from Brazil and Korea, which reflects, as explained above, an

impermissible approach under the statute. Id.

       When comparing the conditions of competition that would affect imports from Brazil and

Korea upon revocation of the orders, the Commission majority claimed that, although the

Brazilian and Korean imports were both subject to a quota under Section 232, there were

“significant differences between the level of South Korea’s quota and presence in the U.S.

market relative to those for Brazil.” Views at 43, PRD 300. According to the Commission

majority:

       The annual absolute quota on subject imports from South Korea is
       141,018 short tons (equivalent to 0.5 percent of apparent U.S.
       consumption in 2021), whereas the annual absolute quota on subject
       imports from Brazil is only 57,251 short tons (equivalent to 0.2 percent of
       apparent U.S. consumption in 2021). In other words, the absolute quota
       on subject imports from South Korea is almost three times larger than the
       absolute quota for subject imports from Brazil. Further, while the volume
       of subject imports from South Korea approached their quota limit (and
       were higher than the volume associated with the quota limit for Brazil)
       and maintained a substantial presence in the U.S. market throughout the
       POR, subject imports from Brazil remained well below their much smaller
       quota limit and were virtually absent from the U.S. market during the
       POR.

Views at 43 (citations omitted), PRD 300. Based on these factors, the Commission majority

concluded that, in light of the “absolute quota applicable to subject imports from Brazil, even if

imports from Brazil reached that level, the substantially larger quota for South Korea … means

that, unlike subject imports from Brazil, the subject imports from {Korea} are in a position to




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compete for much larger volumes of sales than any of the subject producers in Brazil which must

share the quota limits.” Views at 44, PRD 300.

       As shown above, even a cursory review of the Commission majority’s analysis for Brazil

and Korea makes clear that it was premised almost exclusively on the finding that, upon

revocation, the Brazilian and Korean imports would enter the U.S. market at different volume

levels after revocation. Views at 43, PRD 300. By relying so heavily on a finding that imports

from Brazil would enter the market in somewhat smaller volumes than the imports from Korea,

the Commission was once again relying on the type of impermissibly “circular” analysis of likely

volumes that this Court has stated is inconsistent with the Commission’s obligations under the

statute in Neenah Foundry, Allegheny Ludlum, and Nucor. Given this obvious legal error, the

Court should remand these findings for further consideration by the Commission.

       We would add that, in its analysis, the Commission majority also discussed -- in a

footnote 15 -- the fact that there were differences in the production and export levels of the

Brazilian and Korean industries. Views at 43, PRD 300. This fact does not, however, provide

support for the Commission’s majority’s finding that the Brazilian and Korean imports would

compete under different conditions of competition if the orders were revoked. While it may be

true that the Korean cold-rolled steel industry produced and exported a larger amount of cold-

rolled steel than the Brazilian industry during the period of review, the differences between the

production and export levels of the two countries do not demonstrate, in any way, that imports

from Brazil and Korea would compete differently in the United States upon revocation, given

that both countries produced and exported cold-rolled steel in substantial volumes that were well

in excess of the annual quota limits imposed on these imports under Section 232.


       15
            Views at 43, n. 307, PRD 300.



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        For example, in the case of Brazil, the annual quota volume in 2021 was 57,251 short

tons. In 2021, however, the responding producers in Brazil reported that they produced [

       ] short tons of cold-rolled steel in 2021 and exported [           ] short tons to global

markets in that same year. Confidential Staff Report at Table IV-12, CRD 240. Given these

facts, the record showed that the Brazilian industry had [         ] amounts of capacity that could

be used to fill the quota under Section 232 upon revocation and that the Brazilian producers

exported significant amounts of cold-rolled steel during the period of review. In light of these

considerations, the record showed that the Brazilian industry had the ability and the incentive to

export significant amounts of cold-rolled steel to the United States.

        Similarly, the annual quota volume for Korea in 2021 was 141,018 short tons. The sole

responding producer in Korea reported that it produced [                   ] short tons of cold-rolled

steel in 2021 and that it exported [         ] short tons to global markets in 2021. Confidential

Staff Report at Table IV-35, CRD 240. Given these facts, it is clear that the Korean industry --

like the Brazilian industry -- had [       ] amounts of capacity that could be used to fill the quota

under Section 232 after revocation and that the Korean producers exported significant amounts

of cold-rolled steel. Thus, like the Brazilian industry, the Korean industry had the ability and

incentive to export significant amounts of cold-rolled steel to the United States.

        Given these facts, the record demonstrates firmly that, from the perspective of their

potential impact on the U.S. market, there is, in fact, little real practical difference in the size of

the industries in Brazil and Korea or their export patterns and shipments. Clearly, the industries

in both countries have the ability and willingness to ship significant amounts of cold-rolled steel

to the United States in the absence of the Orders. To put it another way, the difference between




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the production and export levels of the Brazilian and Korean industries is a distinction without a

difference.

       Moreover, and perhaps more importantly, in its analysis of these two countries, the

Commission majority failed entirely to explain why the differences in the Brazilian and Korean

production and export levels indicated that imports from those two countries would compete

under different conditions of competition in the U.S. market after revocation. Views at 43, PRD

300. Instead, the Commission majority simply noted the fact that there were differences in the

levels of production and exports for the two countries. The Commission’s failure to explain why

and how these differences matter renders its analysis flawed as a legal matter. By failing to

provide such an explanation, the Commission again failed to provide a “a stated connection

between the facts found and the choice made,” as it is required to do. U.S. Steel Group 162 F.

Supp. 2d at 678 (citing Burlington Truck Lines, Inc. v. United States, 371 U.S. 156, 168 (1962)).

       In sum, the record conclusively demonstrates that any differences in the quota volumes,

production, and export levels of the two countries would not cause the Brazilian and Korean

imports to compete under different conditions of competition after revocation. Given the issues

identified above, it is clear that the Commission majority has not really taken “a ‘hard look’ at

the salient problems and has not genuinely engaged in reasoned decision-making.” Greater

Boston Television Corp. v. FCC, 444 F.2d 841 (D.C. Cir. 1970). Indeed, the Commission

majority has failed to “articulate a ‘rational connection between the facts found and the choices

made.’” Bowman Transportation, Inc. v. Arkansas-Best Freight Systems, Inc., 419 U.S. 281, 285

(1974) (citing Burlington Truck Lines v. United States, 371 U.S. 156, 168 (1962)). Accordingly,

the Court should remand the Commission’s findings on these issues.




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       C. The Commission Majority Failed to Adequately Address the Overwhelming
          Evidence Cited By the Dissent Showing That The Brazilian Imports and The
          Other Subject Imports Would Compete Under the Same Conditions of
          Competition

       The Commission majority also failed to explain how the differences in the measures

imposed under Section 232 would practically affect the manner in which the subject imports

from Brazil and the other subject imports compete in the U.S. market after revocation, which is,

of course, the entire point of the conditions of competition analysis. In fact, in its decision, the

Commission majority provided only a brief justification of its reliance on the differences in the

Section 232 measures between the subject imports in its analysis, noting only that the Federal

Circuit has held that it has “wide latitude in selecting the types of factors that it considers

relevant in deciding whether to exercise discretion to cumulate subject imports in five year

reviews.” Views at 41-42, n. 298, PRD 300.

       This sort of ipse dixit by the Commission is hardly the type of analytical choice that

warrants affirmance by the Court, given that the Commission must articulate a “rational

connection between the facts found and the choices made” in its investigations and reviews.

Bowman Transportation, Inc., 419 U.S. at 285. Indeed, as this Court has stated, the Commission

must provide the parties – and this Court – with an analysis that makes its thinking on such an

important issue clear. Altx, Inc., 167 F. Supp. 2d 1353, 1374 (Ct. Int’l Trade 2001). In a

situation where the Commission simply asserts that it has “wide latitude” to rely on a single

factor in its analysis, the Court must scrutinize closely any questionable inferences that are

drawn by the Commission when analyzing that factor because, as this Court has stated, the

Commission is “not free to prescribe what inference from the evidence it will accept and reject,

but must draw all those inferences that the evidence fairly demands.” Allentown Mack Sales &

Service, v. NLRB, 522 U.S. 359, 378 (1998).



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       Indeed, the significant analytical flaws in the Commission majority’s analysis were

clearly pointed out by the two dissenting Commissioners, Commissioners Schmidtlein and

Stayin. In their robust discussion of the conditions of competition issue, Commissioners

Schmidtlein and Stayin firmly rejected the Commission majority’s conclusion that there were

significant differences in the conditions of competition between the subject imports from Brazil

and the other subject imports. Views at 75-78, PRD 300. In fact, they provided an

overwhelming amount of record support for their finding that there were not likely to be

differences in the conditions of competition between the subject imports, pointing out that:

       •   The industries in the subject countries, including Brazil, had substantial excess
           capacity throughout the period of review which could be used to export the subject
           merchandise to the U.S. market.

       •   The United States was an attractive market for the producers in each subject country.

       •   There was likely to be a reasonable overlap of competition between and among
           subject imports and the domestic like product upon revocation.

       •   Imports from every subject country, including Brazil, maintained a
           presence in the U.S. market in every year of the period of review.

       •   The Brazilian industry rapidly increased its imports into the United
           States and its market share levels during the period of investigation,
           thereby demonstrating a strong interest in exporting to the U.S. market
           during the original period of investigation.

       •   The Brazilian imports significantly undersold the domestic like
           product during the original period of investigation.

       •   The Brazilian orders had a significant restraining effect on the volumes
           of subject imports from Brazil, which were lower than they were
           during the original period of investigation.

       •   The Brazilian industry’s export levels during the period of review were
           similar to the levels they exported to global markets during the original
           period of investigation, when they rapidly increased their exports to
           the United States. As a result, the Brazilian industry’s focus on its
           home market would not prevent it from increasing its exports to the
           United States upon revocation in the reasonably foreseeable future,


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           and imports from Brazil would likely increase along with imports from
           the other subject countries.

Views at 75-76 (footnotes omitted), PRD 300.

       In addition, Commissioners Schmidtlein and Stayin directly addressed -- and rebutted --

the Commission majority’s finding that the Brazilian imports and the Korean imports would

compete under different conditions of competition upon revocation. Views at 78-79, PRD 300.

Explaining their disagreement with the Commission majority on this issue, they pointed out that:

       •   Like the imports from other subject countries, the imports from Brazil and South
           Korea were both likely to increase if the orders were revoked.

       •   Imports from Brazil and Korea had both been below their Section 232 quota levels
           throughout the period of review and, in fact, South Korea filled more of its quota than
           Brazil in 2021. Thus, although South Korea has a larger quota volume than Brazil,
           upon revocation of the orders, the subject imports from Brazil would likely increase
           by a larger amount than the Korean imports after revocation.

       •   During the original period of investigation, like the other subject countries, the
           subject imports from Brazil and South Korea undersold the domestic like product in
           most cases during the period of investigation.

       •   The Brazilian producers had the same incentive to price aggressively when competing
           for 0.2 percent of the U.S. market as the Korean producers, who were competing for
           0.5 percent of the U.S. market under their quota limit.

Views at 78-79 (emphasis added), PRD 300. In light of these considerations, Commissioners

Schmidtlein and Stayin reasonably explained, “{w}hile one may argue that the difference in

quota levels between Brazil and South Korea may ultimately have a different impact on the

domestic industry (and that is debatable), the difference in quota levels does not lead to the

subject imports from Brazil competing differently in the U.S. market than subject imports from

South Korea or any other subject country.” Views at 79 (emphasis added)., PRD 300

       Finally, Commissioners Schmidtlein and Stayin firmly rejected the Commission

majority’s analytical conclusion that it was appropriate to rely heavily on the differences in the



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measures imposed under Section 232 to find that the Brazilian imports and the other subject

imports would compete under different conditions of competition. Noting that they did not

believe that “any difference in the applicable Section 232 measures constitute{d} different

conditions of competition that warrant analyzing subject imports from Brazil on a decumulated

basis,” the two Commissioners correctly explained that:

       The fact that certain imports may be subject to quotas while others may be
       subject to tariffs or tariff-rate quotas does not affect the conditions of
       competition facing these imports in the U.S. market, nor does it suggest
       that the imports would not compete with each other and with the domestic
       product if the orders were to be revoked. The different measures do not
       affect the types of products that may be sold in the U.S. market, nor do
       they affect the locations or channels of distribution through which the
       imports may be sold. Simply put, any differences in these Section 232
       measures will not result in the imports from different subject countries
       competing differently in the marketplace.

Views at 77-78 (emphasis added and footnotes omitted), PRD 300. Unlike the Commission

majority, Commissioners Schmidtlein and Stayin considered why and how the Section 232

measures would affect conditions of competition for the subject imports in the market after

revocation.

       Despite this detailed and comprehensive analysis of the record evidence, the Commission

majority failed to address the analysis of the dissenting Commissioners or the comprehensive set

of facts cited by the dissenting Commissioners. Nor did the Commission majority address the

dissent’s rebuttal of the Commission majority’s conclusion that the quota covering the Brazilian

imports would not have an impact on their ability to compete in the market in the same manner

as the other imports. This failure of the Commission majority makes clear that, unlike the

dissenting Commissioners, the Commission majority did not take “a ‘hard look’ at the salient

problems and {had} not genuinely engaged in reasoned decision-making” when addressing these

issues. Greater Boston Television Corp. v. FCC, 444 F.2d 841 (D.C. Cir. 1970).



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       This failure warrants remand. The Court should send the Commission majority’s

findings for Brazil back with instructions for the Commission majority to address the facts and

analysis conducted by Commissioners Schmidtlein and Stayin upon remand.

       D. In Its Conditions of Competition Analysis, The Commission Majority Failed to
          Address the Domestic Parties’ Arguments That the Commission Could Not
          Presume That the Biden Administration Would Keep the Brazil Quota in Place

       During the Commission’s five-year reviews, the Domestic Industry provided the

Commission with evidence showing that there was reason to believe that the Biden

Administration might revoke or modify the Section 232 quota applicable to the Brazilian

imports. See, e.g., Post-Hearing Brief of Cleveland-Cliffs at 11-12, & Exhibits 4, 5, 8, 9, 11 and

12, PRD 222. For example, the Domestic Industry provided evidence to the Commission

demonstrating that the government of Brazil was putting pressure on the Administration to revise

the quotas imposed under Section 232 on Brazilian imports to allow more Brazilian imports into

the United States. Id. The Domestic Industry also provided evidence to the Commission

demonstrating that the Administration had already revised the Section 232 tariffs and liberalized

the measures on imports from other significant U.S. trading partners, including the members of

the European Union, the United Kingdom, and Japan. Id. at Exhibits 4, 5, 11, & 12, PRD 222.

The evidence provided by the Domestic Industry established that the Commission should not,

and could not, conclude that the quota on Brazilian imports of cold-rolled steel would remain in

place in its existing form for the reasonably foreseeable future.

       The Commission majority simply ignored this evidence. Rather than directly grappling

with the evidence provided by the domestic parties -- which showed that the continuation of the

Brazilian quota in its current form could not be taken for granted -- the Commission majority

simply and incorrectly stated that there was “nothing in the record” to suggest that the Section

232 quota would be terminated or revised in the reasonably foreseeable future. Views at 56, PRD


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300. Rather than directly addressing the evidence presented by the Domestic Industry on this

issue, the Commission majority rejected the domestic parties’ arguments in a brief statement,

noting only that the “parties disagree” with its conclusion that the Brazilian quota would remain

in place for the reasonably foreseeable future, adding that the Administration had not announced

its intent to consider revising the quota. Views at 72, PRD 300.

       Once again, the Commission’s analysis does not demonstrate it took a “a ‘hard look’ at

the salient problems” and “genuinely engaged in reasoned decision-making,” as it is required to

do. Greater Boston Television Corp. v. FCC, 444 F.2d 841 (D.C. Cir. 1970). Indeed, the

Commission’s statement that there “was nothing in the record” to demonstrate that the Brazilian

Section 232 quota might be revoked or modified is clearly wrong given that the Domestic

Industry had provided the Commission with significant evidence to the contrary. By failing to

address the strong evidence provided by the domestic parties on this issue, the Commission did

not provide a reasoned explanation of its thinking on the issue, as it is required to do. U.S. Steel

Group, 162 F. Supp. 2d at 678. Just as importantly, the Commission failed to seriously address

the relevant arguments of the parties, as it is required to do under the statute. 19 U.S.C.

§1677f(i)(3)(B). For each of these reasons, the Court should remand the Commission’s analysis

and conclusions on this issue for further consideration.

       E. The Commission’s Conditions of Competition Analysis Was Not Consistent with
          Its Prior Decisions Addressing the Impact of Section 232 On the Volume and
          Pricing of Subject Imports

       Finally, the Commission’s determination not to cumulate subject imports from Brazil was

inconsistent with its prior determinations addressing the likely impact of the Section 232

measures on the volume and prices of subject imports. It is well-settled that an agency may not

make decisions that are “so inconsistent with its own precedent as to constitute arbitrary

treatment amounting to an abuse of discretion.” Crosthwait v. Fed. Commc’ns Comm’n, 189


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U.S. App. D.C. 392, 584 F.2d 550, 556 (D.C. Cir. 1978) (quoting Herbert Harvey, Inc. v. NLRB,

137 U.S. App. D.C. 282, 292, 424 F.2d 770, 780 (D.C. Cir. 1969)). Indeed, as this Court has

stated, “the Commission may not disregard previous findings of a general nature that bear

directly upon the current review.” DAK Americas LLC, 456 F. Supp. 3d at 1354 (quoting

Usinor, 26 C.I.T. at 792. Instead, “if there are distinguishing factors between the prior

determinations in question and the instant case, the burden is on the Commission to reasonably

address them.” Id.

       Significantly, until the Commission’s decision for cold-rolled steel from Brazil, the

Commission had consistently found that the existence of Section 232 relief would not prevent

unfairly traded imports from entering the U.S. market in a manner that would impact the

domestic industry. For example, in Clad Steel Plate from Japan, the Commission found that

“the U.S. market is sufficiently attractive, particularly in light of the Japanese industry’s

substantial unused capacity and export orientation, to encourage subject producers to again

export significant quantities of clad steel plate in the absence of the antidumping duty order even

with the Section 232 tariffs in place.” 16 Similarly, in its reviews of Non-Oriented Electrical

Steel, the Commission found that “the Section 232 and/or Section 301 trade actions, though they

may well have had some deterrent effect, will not likely prevent a significant volume of subject

imports from entering the U.S. market in the event of revocation.” 17



       16
        Clad Steel Plate from Japan, Inv. Nos. 731-TA-739 (Fourth Review), USITC Pub.
4851 (Dec. 2018) at 20.
       17
          Non-Oriented Electrical Steel from China, Germany, Japan, Korea, Sweden, and
Taiwan, Inv. Nos. 701-TA-506 and 508 and 731-TA-1238-1243 (Review), USITC Pub. 5140
(Dec. 2020) at 33 n. 189. The reference to Section 301 duties refers to duties imposed on certain
imports from China pursuant to Section 301 of the Trade Act of 1974, as amended, 19 U.S.C. §
2411 et seq.



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       Significantly, the Commission has also applied this reasoning to cases involving imports

from Brazil. In its August 2020 five-year reviews of Carbon and Certain Alloy Steel Wire Rod,

the Commission found that “section 232 tariffs are not likely appreciably to impede increased

volumes of cumulated subject imports upon revocation of the orders. Imports from Brazil and

Mexico are not currently subject to additional tariffs pursuant to section 232, although imports

from Brazil are currently subject to a quota.” 18 The Commission went on to find that “subject

imports from the five subject countries declined in response to the antidumping and

countervailing duty orders well before the imposition of Section 232 tariffs, stating that “the U.S.

market is sufficiently attractive to encourage subject producers to again export significant

quantities of wire rod in the absence of the antidumping and countervailing duty orders

notwithstanding section 232 tariffs.” Id.

       Finally, in Tin- and Chromium-Coated Steel Sheet from Japan, the Commission found

that the U.S. market was “sufficiently attractive to encourage Japanese producers to again export

significant quantities of {tin mill products} in the absence of the antidumping duty order even

with the imposition of Section 232 tariffs.” 19 In each of these reviews, therefore, the

Commission took exactly the approach the Commission should have taken with respect to the

Brazilian order here: it avoided speculating as to whether the Section 232 measures would

remain in place, and relied on evidence showing that revocation of antidumping and

countervailing duty relief would lead to material injury, regardless of what happened with

measures under Section 232.


       18
         Carbon and Certain Alloy Steel Wire Rod from Brazil, Indonesia, Mexico, Moldova,
and Trinidad and Tobago, Inv. Nos. 701-TA-417 and 731-TA-953, 957-959, and 961 (Third
Review), USITC Pub. 5100 (Aug. 2020) at 46 n. 298 (emphasis added).
       19
         Tin- and Chromium-Coated Steel Sheet from Japan, Inv. Nos. 731-TA-860 (Third
Review), USITC Pub. 4795 (June 2018) at 21.


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       The only apparent exception to this rule – before the Commission’s decision for Brazil in

the cold-rolled steel reviews – was Stainless Steel Bar, which involved an antidumping duty

order that had been in place on Brazil since 1995. 20 But that case is very different from this one.

In Stainless Steel Bar, the Commission noted that, in May 2018 – only a few months before the

review took place – the President imposed a quota on stainless steel bar from Brazil that would

hold imports from that country significantly below the volumes seen during the period of review

while the imports were covered by the antidumping duty order. 21 In other words, Stainless Steel

Bar involved a situation in which: (1) the President had only recently imposed Section 232

relief, (2) the same President who imposed the relief was still in office, and (3) the Section 232

relief at issue would keep Brazilian imports below the levels seen with the antidumping duty

order in place. None of those facts exist here.

       Because of these significant differences, the Commission’s decision in Stainless Steel Bar

is not relevant here. Instead of relying on a quota set by the same President only a few months

earlier, the Commission here was dealing with a different Administration that had already shown

a willingness to make significant modifications to Section 232 relief. Furthermore, instead of a

situation in which Section 232 relief would hold subject imports below the volumes seen during

the period of review, the record here showed that revocation of the Brazilian orders would likely

lead to an increase in the volumes of the subject imports from Brazil, even if the Section 232

quota remained. Indeed, even the Commission majority concluded that, upon revocation, there


       20
         Stainless Steel Bar from Brazil, India, Japan, and Spain, Inv. Nos. 731-TA-678, 679,
681, and 682 (Fourth Review), USITC Pub. 4820 (Sept. 2018) at 3.
       21
         Id. at 16, Table I-12 (showing that in each year from 2015 to 2017, subject imports
from Brazil totaled between 2,165 short tons and 2,499 short tons, while the quota was set at
1,645 short tons). In other words, the quota was at least 24 percent lower than import volumes
from Brazil from 2015 to 2017.



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would be an increase in the volumes of the Brazilian imports. Views at 20-23, PRD 300. In

short, the Commission should have disregarded Stainless Steel Bar, and treated Brazilian imports

here as it treated other steel imports in the other reviews cited above – or, for that matter, as it

treated imports from other countries in these reviews.

        This Court has stated that the Commission will be found to have acted unlawfully if it

treats similar cases differently without an adequate explanation. As this Court stated in a recent

decision, “the Commission may not disregard previous findings of a general nature that bear

directly upon the current review.” DAK Americas LLC, 456 F. Supp. 3d at 1354 (quoting

Usinor, 26 C.I.T. at 792. Because the Commission majority’s decision for Brazil is inconsistent

with the Commission’s prior decisions analyzing the impact of Section 232 measures on the

subject imports, the Court should remand the Commission’s negative determination for Brazil

with instructions for the Commission to address its departure from the practice established in

these prior determinations.

V.      CONCLUSION AND PRAYER FOR RELIEF

        The Commission majority’s determination not to cumulate the subject imports of cold-

rolled steel from Brazil was clearly inconsistent with this Court’s prior holdings addressing the

legal limitations governing the Commission’s cumulation determinations in sunset reviews.

Moreover, the Commission majority’s determination ignored critical facts relating to this issue

that were part of the Commission’s record. Finally, the Commission majority’s determination

not to cumulate imports from Brazil with the other subject imports was inconsistent with its prior

decisions addressing the impact of Section 232 trade measures on the likely volumes of subject

imports. Ultimately, the Commission’s failure to address these issues, and provide an adequate

analysis of its findings, violates one of its fundamental obligations under the statute: to provide

the parties with a reasoned explanation of its findings on the relevant legal issues. This failure


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warrants remand.

       Given this, we respectfully request that the Court find that the Commission’s negative

determination for Brazil was unsupported by substantial evidence and not otherwise in

accordance with law. Accordingly, the Court should remand this matter with instructions for the

Commission majority to reconsider its negative determination for Brazil.

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                           CERTIFICATE OF COMPLIANCE
                          WITH WORD COUNT LIMITATIONS

       Pursuant to paragraph 2(B)(2) of the U.S. Court of International Trade’s Standard

Chambers Procedures, the undersigned certifies that this brief complies with the word count

limitations set forth in the Court’s scheduling order. Exclusive of the exempted portions, as

provided in paragraph 2(B)(1), this brief includes 13,295 words. In preparing this certificate, the

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